Case 3:22-cv-00151-LL-MDD   Document 9-23   Filed 03/21/22   PageID.405   Page 1
                                     of 2




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